Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 1 of 12

Exhibit 156
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 2 of 12

To: Seaman, Michael p ES cov Lisitza, Davi gov). Cappoii,
James A cov)

     
   

Cec: Fredrickson, David R. iE cov),
Szczepanik, Valeri GOV]

From: Jarsulic, Laura

Sent: 2018-06-08T 16:33:47-04:00

Importance: Normal

Subject: RE: Updated Language

Received: 2018-06-08T16:33:42-04:00

Thanks for forwarding the new language. And thank you for meeting with us today.

Attached are our comments on the draft that you circulated last week, which | think are fairly
consistent with what we talked about-today. We naven’t updated the comments to take into account
what we learned fror . you today.

Thanks,
‘Laura

 

From: Seaman, Michael P.
Sent: Friday, June 08, 2018 4:20 PM
To: Jarsulic, Laura; Lisitza, David; Cappoli, James A.
Cc: Hinman, William; Fredrickson, David R.; Szczepanik, Valerie
Subject: Updated Language

Here is the most recent version.
Based on our understanding of the present state of Ether and the Ethcreum network and how it

operates, regulating the offer and sale of Ether as a security would not appear to further the policy
objectives of the securities laws.

CONFIDENTIAL SEC-LIT-EMAILS-000471 184
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 3 of 12

Non-Public Draft
June 4, 2018

 

  
  
    

{'commented [A1]: As we explained in our covering email, m
of OGE"s comments muke diear that this is less about a digital asset
taut “trémsforms” und more about how thas digital asset ts oaferedat
diffrent peins in ime.

Digital Asset.

 

There has been considerable discussion recently in the press and at legal conferences
regarding whether a digital asset offered as a security can over time become something other

than a security. I think framing the question that way might miss an important point, which f Commented [A2]: We assume the standard disclaimer will b
F added noting that these are the speaker’s views and not the
. Commission’

hope to make with my remarks here today. —=

To start, I think a better line of inquiry is: “Can a digital asset or token that was originally
offered in a securities offering ever be sater offered sere-in a manner that does not constitute a
securities offering?” In cases where the digital asset or token represents a set of rights that give
the holder a financial interest in an enterprise the answer is likely no. In these cases, calling the

transaction an initial coin offering, or “ICO,” won’t take it out of the purview of the U.S.

securities laws.

But what of those cases where there 1s no central enterprise being invested in and where
the digital asset or token is sold only to be used to purchase a good or service available through
the network on which it was created? I believe in these cases the answer is a qualified “yes,” and
I'd like to share my thinking with you today about the circumstances under which that could

occur.

First, I would like to start with a little background on the new world of digital assets.
Most of you are no doubt quite familiar with Bitcoin and know of blockchain — or distributed
ledger — technology. As I have come to learn, what may be most exciting about this technology
is the ability to share information, transfer value, and record transactions in a decentralized

digital environment. What does that mean? Payment systems, supply chain management,

CONFIDENTIAL SEC-LIT-EMAILS-000471185
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 4 of 12

Non-Public Draft
June 4, 2018

intellectual property rights licensing, stock ownership transfers and countless other potential
applications can be conducted electronically, with a public, immutable record without the need
for a trusted third party to verify transactions. Using these new networks, one can create digital
information packets that can be transferred using encryption keys. These packets are sometimes
called coins or tokens, and can be obtained through mining, distribution, sale or exchange by
users in the network Some people believe these new systems will forever transform e-commerce
as we know it. There is excitement around this new technology. There is also a great deal of

“irrational exuberance” and, unfortunately, many cases of fraud.

But that is not what I want to focus on today. I am here to talk about how these digital
tokens and coins are being issued, distributed and sold. In order to raise money to develop these

new systems, promoters! often sell the tokens themselves, rather than sell shares, issue notes or

  

obtain bank financing. M4ehieveceen pblic diviibothemtestke Internetand- private phicemens

 

ko rophistented+aventers-—But, in many cases, the economic substance is the same: funds are

 

raised with the expectation that the promoters will build their system and investors can earn a
return on the instrument — usually by selling their tokens in the secondary market as the value of

the digital enterprise increases once the promoters create something of value with the proceeds.

When we see that kind of economic transaction, itis easy to apply the Supreme Court’s
“investment contract” test first announced in SEC v. Howey.” As you will remember, the test

requires an investment of money in a common enterprise with an expectation of profit derived

1T am using the term “promoters” in a broad, generic sense. The important factor in the legal analysis is that there is

a person or coordinated group that is working actively to develop the infrastructure of the network inghuling “any

unincorporalcd orvanzalion.” 5 USC. 77bfai4) This person or group may be, variously, founders, sponsors,

developers, or “promoters” in the traditional sense. The presence of promoters in this context is important to

distinguish from the circumstance where multiple, independent actors work on the network but no individual actor’s
| or coordinated group of actors’ efforts are essential eoris which affeel the failure or success of the onlerprige,

2 SEC v. W.J. Howey Co, 328 U.S. 293 (1946).

 

 

CONFIDENTIAL SEC-LIT-EMAILS-000471 186
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 5 of 12

Non-Public Draft
June 4, 2018

from the efforts of others. And it is important to reflect on the facts of Howey. A Florida hotel
operator sold interests in a citrus grove to its largely out-of-state guests. The transaction was
recorded as areal estate sale, together with a service contract. In theory, purchasers could
arrange to service the grove themselves, but few pursued that option. In fact, the purchasers
were passive, relying largely on the Howey Service Company’s efforts tending the assets for a
return. And in articulating the test for an investment contract, the Supreme Court stressed:
“Form [is] disregarded for substance and the emphasis [is] placed on economic realities.”* So

the purported real estate purchase was found to be an investment contract, and hence a security.

In the ICOs we have seen, overwhelmingly, promoters tout their ability to create some
innovative application of blockchain technology. The investors are passive. Marketing efforts
are rarely targeted to potential users of the application. And the viability of the application is
still uncertain. At that stage, the purchase of a token looks a lot like a bet on the success of the
enterprise and not the purchase of something +eHaa-temede-be-used to exchange for goods or

services on the network.

As an aside, you might ask, given that these token sales often look like securities
offerings, why are the promoters choosing to package the investment as an ICO or token
offering? This is an especially good question ifthe network on which the token or coin will
function is not yet operational. I think there can be a number of reasons. For a while, it was
believed such labeling might, by itself, remove the transaction from the securities laws. T think
people now realize labeling an investment opportunity as a coin or token, does not achieve that

result. Second, this labelling might be hoped to bring some marketing “sizzle” to the enterprise.

3 Td. at 298.

CONFIDENTIAL SEC-LIT-EMAILS-000471 187
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 6 of 12

Non-Public Draft
June 4, 2018

That might still work to some extent, but the track record of ICOs is still being sorted out and
some of the sizzle may now be more of a potential warning flare for investors. Some may be
attracted to crowdfund through a blockchain mediated process. Digital assets can represent a
relatively frictionless way to reach a global audience in order to seed a network where initial
purchasers have stake in the success of the network and become part of its early adopting
participants who add value beyond their investment contributions. Related to this, seme

beHexeit is possible that once a network is sufticient:y decentralized, or the token or coin is

 

 

eperatenatused predominantly 70 purchase goods or services, twill ceasete-be-a seennbhy

 

 

oftcrings atter that point would not be securities o“Ferines:

 

    

hile | recognize that possibility, as | will discuss, the ability to transact in a coin or Commented [A3]: Issues surrounding secondary markets are
extremeiy complicated and beyona the scope of this presentation..

 

 

token on the secondary market requires a careful and fact-sensitive legal analysis.

I believe some industry participants are beginning to realize that, in some circumstances,
it might be easier to start a blockchain-based enterprise in a more conventional way. In other
words, do the initial funding through a »=--+reatenstregislereu equity or debt offering and once
the network is up and running, distribute or offer blockchain based tokens or coins to participants
who need the functionality the network and the digital assets offer. This allows the tokens or
coins to be structured and offered in a way where it is evident purchasers are not making an

investment in the development of the enterprise.

Returning to the ICOs we are seeing, strictly speaking, the token — or coin or whatever
the digital information packet is called — all by itselfis not a security, just as the orange groves in

Howey were not. Central to determining whether a security is being sold is how it is being sold

 

and the reasonable expectation of purchasers. For example,

CONFIDENTIAL SEC-LIT-EMAILS-000471 188
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 7 of 12

Non-Public Draft
June 4, 2018

 

 

hen someone buys a housing unit to live in— even when represented by an Commented

instrument called “stock” it is probably not a security.° When the housing unit is offered with POURING weareges & bend

 

 

a management contract or other services as an investment, it can be a security.’

And so with digital assets. The digital asset itself is simply code. But the way it is sold —
as part of an investment; to non-users; by promoters to develop their idea — can be, and, in that
context, most often is, a security — because it evidences an investment contract. And regulating
these transactions as securities transactions makes sense. The impetus of the Securities Act is to
remove the information asymmetry between promoters and investors. In a public distribution,
the Securities Act prescribes the information investors need in order to make an informed
decision, and the promoter is liable for material misstatements in the offering materials. These
are important safeguards, and they are appropriate for most ICOs. The disclosure marries nicely
with the Howey investment contract element about the efforts of others. As an investor, the
success of the enterprise — and the ability to realize a profit on the investment — turns on the
efforts of the third party. The investor is relying on the third party. So learning material
information about the third party —its background, financing, plans, financial stake, and so forth

—isa prerequisite to making an informed investment decision. Unless the third party is

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6 United Housing Found., Inc. v. Forman, 421 U.S. 837 (1975).

7 Guidelines as to the Applicability of the Federal Securities Laws to Offers and Sales of Condominiums or Units in
a Real Estate Development, SEC Rel. No. 33-5347 (Jan. 4, 1973).

CONFIDENTIAL SEC-LIT-EMAILS-000471 189
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 8 of 12

Non-Public Draft
June 4, 2018

compelled by the securities law to disclose what it alone knows of these topics and the risks

associated with the venture, investors will be unintormed and are at risk.

 

But this also points the way to when offering a digital asset may no longer represent a
factor for the enterprise’s success, material information asymmetries recede. Moreover, as a
network becomes truly decentralized, the ability to identify an issuer or promoter to make the

disclosure becomes difficult, and perhaps meaningless.

And so, when look at Bitcoin, +ve-i.do not see a third party whose efforts are a key

determining factor in the enterprise. . we newark or wnce Sitcoin fimetions was onerational

 

and appears to have been sufficiently decentralized trom its inception.

 

 

 
 

 

Applying the disclosure provisions of the securities laws in

 

 

this situation would seem to add little value. [Note to Draft: We expect to use the following

bracketed language subject to confirmation of our understanding of the Ethereum network

 

in discussions with representatives of Ethereum Foundation.] [Fike

    
 

mented [AG]: We are still discussing this internally. We
to hear what CF learns from its anticipated conversati

   

them as @ sseurty-sccuritics offtrmes may not be warranted.] And of course there continue to be

 

systems that rely on central actors whose efforts are key to the success of the enterprise. In those
cases, application of the securities laws can protect the investors who purchase the coins. There

will be disclosure requirements and SEC-supervised trading mediated by regulated entities.

CONFIDENTIAL SEC-LIT-EMAILS-000471190
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 9 of 12

Non-Public Draft
June 4, 2018

As I have tried to point out, the analysis is not static and the nature of a security does not
inhere to the instrument. Like-CDs—which wher issued bya federally repulated bank are nat
seourities -but-when repackaged. as-part-of.an investment strategy can be seeurtiies:.cEven digital
assets with utility in an existing eco-system could be packaged and sold as an investment
strategy that can be a security. A promoter could place Bitcoin in a fund or trust and sell
interests, creating a new security. Similarly, investment contracts can be made out of virtually
any asset (including virtual assets), provided the investor is reasonably expecting profits from the

promoter’s efforts.

Let me emphasize an earlier point: simply labeling a digital asset a “utility token” does
not turn the asset into something that is not a security.? True, the Supreme Court has
acknowledged that if someone is purchasing an asset for consumption only, it is likely not a
security.'° But the economic substance of the transaction determines the legal analysis, not the
labels.!! The oranges in Howey had utility. Orin my favorite example, the Commission warned
in the late 1960s about investment contracts sold in the form of whisky warehouse receipts.!”
Promoters sold the receipts to US investors to finance the aging and blending processes of
Scotch whisky. The whisky was real — and, for some, had exquisite utility. But Howey was not
selling oranges and the warehouse receipts promoters were not selling whisky for consumption.

They were selling investments, and the purchasers were expecting a return.

§ The Supreme Court’s investment contract test “embodies a flexible rather than a static principle, one that is capable
of adaptation to meet the countless and variable schemes devised by those who seek the use of the money of others
on the promise of profits.”” Howey, at 299.

° “(T]he name given to an instrument is not dispositive.” Forman, at 850.

10 Forman, at 853.

11 See above

2 SEC Rel. No. 33-5018 (Nov. 4, 1969); Investment in Interests in Whisky, SEC Rel. No. 33-5451 (Jan 7, 1974).

CONFIDENTIAL SEC-LIT-EMAILS-000471191
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 10 of 12

Non-Public Draft
June 4, 2018

We expect issuers and market participants will want to understand whether transactions
in a particular digital asset involve the sale of a security. We are not trying to play “regulatory
gotcha.” We are happy to help promoters and their counsel work through these issues. We stand
prepared to provide more formal interpretive or no action guidance to market participants about

the proper characterization of a digital asset in a proposed use.

What are some of the factors we would look to? Whether a digital asset is offered as an
investment contract and is thus a security will always depend on the particular facts and

circumstances, and this list is illustrative, not exhaustive:

| Is there a person or organized group that has sponsored or promoted the creation and sale
of the digital assets, the efforts of which play a significant role in the development and

maintenance of the asset and its potential increase in value?

bo

 

 

Would purchasers reasonably believe such efforts will be undertaken and may result ina
return on their investment in the digital asset? Does the promoter continue to expend
funds from proceeds or operations to enhance the functionality and/or value of the system
within which the token operate? Has the promoter raised an amount of funding that
seems reasonably related to the costs of creating the network?

3 Ts the instrument marketed and sold to potential users of the network for a price that
reasonably correlates with the market value of the good or service in the network?
Does application of Securities Act protections make sense? Is there a person or entity
others are relying on that plays a key role in the profit-making of the enterprise such that

disclosure of their activities and plans would be helpful to investors? Do informational

CONFIDENTIAL SEC-LIT-EMAILS-000471 192
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 11 of 12

Non-Public Draft
June 4, 2018

asymmetries exist between the promoters and potential purchaser/investors in the digital

asset?

Nat

io the decentralized persons or entities exercise bona tide voting rights and moamngt

 

4.6 Whether

Tay
Wy

 

 

   

Speculation?
2
jarchaser expected use?
3 ss a diverse user base or concentrated in the hands o
4.
5

 

CONFIDENTIAL SEC-LIT-EMAILS-000471 193
Case 1:20-cv-10832-AT-SN Document 830-50 Filed 06/13/23 Page 12 of 12

Non-Public Draft
June 4, 2018

 

lly functioning?

 

   
    

t-Commented [AS]: We should discuss whether this pi i
should include this level’of detail about facto’s that appear to spea

 

users or the general public?

 

 

These are exciting legal times and I am pleased to be part of a process that can help
promoters of this new technology and their counsel navigate and comply with the federal

securities laws.

CONFIDENTIAL SEC-LIT-EMAILS-000471 194
